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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 THE STATE OF TEXAS, et al,                §
                                           §
                                           §
         Plaintiffs,                       §
                                           §
 v.                                        §          Civil Action No. 4:20-cv-00957-SDJ
                                           §
 GOOGLE LLC,                               §
                                           §
                                           §
         Defendant.                        §



  DEFENDANT GOOGLE LLC’S UNOPPOSED MOTION FOR LEAVE TO FILE
UNDER SEAL AND TO EXTEND TIME LIMIT UNDER LOCAL RULE CV-5(a)(7)(E)

       Defendant Google LLC (“Google”) respectfully moves to seal its Memorandum in

Opposition to Plaintiffs’ Motion to Exclude Opinions of Itamar Simonson and Declaration of J.

Sessions in Support of Google’s Memorandum in Opposition with all attached exhibits. Because

these filings are voluminous, Google seeks permission to file all of these papers under seal in the

first instance and to extend the time limit under Rule CV-5(a)(7)(E) for submitting redacted

versions from seven days to 21 days.

                                       LEGAL STANDARD

       While “judicial records are subject to a general presumption that they will be available to

the public[,]” United States v. Holy Land Found. for Relief & Dev., 624 F.3d 685, 693 (5th Cir.

2010), “the right to inspect and copy judicial records is not absolute[,]” Nixon v. Warner

Commc’ns, Inc., 435 U.S. 589, 598 (1978).         For example, courts have recognized that the

public’s right to access is appropriately limited to protect individual privacy, Pugh v. Walmart

Stores, Inc. Texas Inj. Care Benefit Plan, No. 1:16-CV-490, 2017 WL 11664888, at *1 (E.D. Tex.
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May 30, 2017), and “sources of business information that might harm a litigant’s competitive

standing,” Nixon, 435 U.S. at 598.

       In exercising its discretion to seal judicial records, “the court must balance the public’s

common law right of access against the interests favoring nondisclosure.” S.E.C. v. Van

Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993); Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d

410, 419 (5th Cir. 2021) (directing courts to balance right of access against interest of

nondisclosure).

       While Local Rule CV-5(a)(7) provides that under ordinary circumstances, parties have

seven days following a sealed filing to file a redacted copy of that filing, “federal courts have the

inherent authority to ‘manage their own affairs so as to achieve the orderly and expeditious

disposition of cases.’” Dellucky v. St. George Fire Prot. Dist., No. 23-30810, 2024 WL 3688722,

at *3 (5th Cir. 2024) (quoting Chambers v. NASCO, 501 U.S. 32, 43 (1991)); see also Carranza

v. Shelton & Valadez, P.C., No. SA-22-CV-00025-ESC, 2023 WL 3260544, at *1 (W.D. Tex.

May 4, 2023) (discussing the court’s “inherent power to manage its docket”).

                                          ARGUMENT

       Google moves to file under seal its Memorandum in Opposition to Plaintiffs’ Motion to

Exclude the Testimony of Itamar Simonson and Declaration of J. Sessions in Support of

Google’s Memorandum in Opposition with all attached exhibits.

       These filings include deposition transcripts, expert reports, and produced documents

which have been designated Confidential or Highly Confidential by parties and non-parties under

the governing Confidentiality Order (ECF No. 182). Similar materials have been sealed from

other filings. See, e.g., ECF No. 337. The Memorandum quotes from and summarizes the

contents of these documents.



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       Under Local Rule CV-5(a)(7)(E), “a party filing a document under seal must publicly file

a version of that document with the confidential information redacted within seven days[.]” In

light of the anticipated size of these filings, the parties jointly request that the Court grant

permission to file all of the aforementioned documents under seal in the first instance, and that

the Court exercise its inherent authority to extend the deadline under Rule CV-5(a)(7)(E) for

submitting redacted copies of these filings on the public docket from seven days to 21 days. See

Carranza, 2023 WL 3260544 at *1.

                                        CONCLUSION

       For the foregoing reasons, Google’s motion to seal and to extend the deadline under Rule

CV-5(a)(7) should be granted.

Dated: December 09, 2024                     Respectfully submitted,

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                                  Counsel for Defendant Google LLC




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                               CERTIFICATE OF SERVICE

       I certify that on December 9, 2024, this document was filed electronically in compliance
with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per
Local Rule CV-5(a)(3)(A).

                                                           /s/ Justina K. Sessions


                            CERTIFICATE OF CONFERENCE
       I certify that counsel for Defendant conferred with counsel for Plaintiffs via email
(Google: Robert McCallum, Lauren Kaplin, Xiaoxi Tu, Matthew Steyl. Plaintiffs: Noah Heinz,
Kiran Bhat, Zachary Clark, John McBride) and that counsel for Plaintiffs confirmed Plaintiffs do
not oppose the relief requested in this Motion.


                                                           /s/ Justina K. Sessions




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